    Case 18-06044-LT11            Filed 07/19/19    Entered 07/21/19 12:20:01       Doc 335       Pg. 1 of 2


                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA

                                                 Minute Order
Hearing Information:
                                                                                                                  0.00
                    Debtor:   JESSE WAYNE DAWBER
              Case Number:    18-06044-LT11            Chapter: 11
      Date / Time / Room:     FRIDAY, JULY 19, 2019 10:00 AM DEPARTMENT 3
       Bankruptcy Judge:      LAURA S. TAYLOR
        Courtroom Clerk:      SHAWNA ZUCCONI
          Reporter / ECR:     SUE ROSS

Matter:
              EMERGENCY HEARING REGARDING CHAPTER 11 EXAMINER'S PRELIMINARY REPORT FILED ON
              BEHALF OF JESSE S. FINLAYSON



Appearances:

        CHRISTOPHER K.S. WONG, ATTORNEY FOR JESSE WAYNE DAWBER
        JESSE FINLAYSON, CHAPTER 11 EXAMINER (telephonically)
        DAVID ORTIZ, ATTORNEY FOR THE U.S. TRUSTEE
        DON VAUGHN, ATTORNEY FOR JACK SCHINDLER
        EVAN TOPOL, ATTORNEY FOR JACK SCHINDLER
        JACK SCHINDLER PRESENT
        MICHAEL BRESLAUER, ATTORNEY FOR CLASS WAR, INC.
        JEREMY ROSENTHAL, CEO OF CLASS WAR, INC. PRESENT
        CHRISTOPHER HAWKINS, ATTORNEY FOR DREW MADACSI AND LIGHTHOUSE STRATEGIC GROUP LIMITED
        LAUREN GANS, ATTORNEY FOR STFU GLOBAL PTE LTD (telephonically)




Page 1 of 2                                                                                     7/21/2019   12:18:36PM
     Case 18-06044-LT11          Filed 07/19/19      Entered 07/21/19 12:20:01          Doc 335        Pg. 2 of 2


                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF CALIFORNIA

                                                  Minute Order
(continue)..   18-06044-LT11           FRIDAY, JULY 19, 2019 10:00 AM

Disposition:                                                                                              1.00


        Case Status Conference in this case and the Class War, Inc. case 19-00293-LT11 scheduled for
        8/22/19 at 11:00 a.m. The Court will expect the Chapter 11 Trustee to appear on 8/22/19 and
        if no TRO is in place, counsel for STFU must appear in person as set forth on the record.

        The Examiner reported on the record that his investigation has uncovered that Jesse Dawber is,
        in fact, the 100% owner of STFU Global PTE LTD through a previously undisclosed trust
        agreement with Jeslyn Leong. Additionally, Mr. Dawber failed to disclose his ownership interest
        and control of STFU in his schedules, statement of financial affairs and also falsely denied
        owning any interest in the company in a declaration filed on April 9, 2019.

        The Court appoints a Chapter 11 Trustee in this case based upon Schindler's motion, filed
        3/26/2019 at docket #196, and as set forth on the record. Jeremy Rosenthal to remain
        independent fiduciary for Class War, Inc. case 19-00293-LT11. Order appointing Chapter 11
        Trustee and expanding Examiner's powers to be submitted by Mr. Ortiz.

        The Court stated on the record that a complaint and an emergency request for protective order
        may be filed and the Court will set the preliminary injunction hearing in the ordinary course.

        The Court vacates all Knudson Orders as set forth on the record.

        This Minute Order will also be docketed in the related Class War, Inc. case 19-00293-LT11.




Page 2 of 2                                                                                          7/21/2019   12:18:36PM
